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Attorneys for Plaintiffs State of California and United States of America

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, et al.,

Plaintiffs,
V.

SHELL OIL COMPANY, et al.,

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Defendants. )
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CASE NO. 91-00589 (CJC)

MOTION TO LIFT STAY

Date: TBD

Time: 1:30 P.M.

Courtroom: 7C, First Street Court
House

Judge: Hon. Cormac J. Carney

 

 

 

Motion to Lift Stay (CV 91-00589 CJC)

 
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1 | On August 5, 2019, the Court held a status conference with the parties at

2 | which time the Court requested that the Government Plaintiffs submit a Motion to
3 | Lift the Stay within thirty (30) days. The Plaintiffs respectfully request that the
Court lift the stay that was imposed in 2007 so that the Plaintiffs can move forward
with their action to recover response costs incurred in connection with the McColl
Superfund Site in Fullerton, California. Those costs are recoverable pursuant to the
Comprehensive Environmental Response, Compensation, and Liability Act

8 (“CERCLA”), 42 U.S.C. §§ 9607. Those claims had been stayed by this Court

9 | pending a resolution of the Defendants’ breach of contract claims against the

10 | United States. The Parties now agree that: (1) the breach of contract case is

11 || concluded; (2) the only claims remaining in this case are the Plaintiffs’ cost

12 | recovery claims; and (3) the issue of the stay is now moot. See Docket No. 644.
13 Respectfully submitted,
Plaintiff United States of America

 

 

 

15
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Motion to Lift Stay (CV 91-00589 CIC)

 

 
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CERTIFICATE OF SERVICE

Case Name: USA, et al., v. Shell Oil No. CV 91-00589 VAP
Company, et al. :

 

 

I hereby certify that on August 30, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:

MOTION TO LIFT STAY
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.

I.am employed in the Office of the Attorney General, which is the office of a member of the

- California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. | am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is-deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.

I further certify that some of the participants in the case are not registered CM/ECF users. On
August 30, 2019, I have caused to be mailed in the Office of the Attorney General's internal mail
system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched it to
a third party commercial carrier for delivery within three (3) calendar days to the following non-
CM/ECF participants:

 

 

 

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Atlantic Richfield Company

 

 

 

 
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I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on August 30, 2019, at San Diego, California.

an

Signature ©

  

C. Sheppard
Declarant

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